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BY ECF .

_ l _ » 32605-161
Hon. Jeffrey` A. Meyer, U.S.D.J. '
Richard C. Lee United States Courthouse
141 Church Street

NeW Haven, Connecticut 06510

Re: Patane, et al. v. Nestle Waters North America, Inc.
Civil Action No. 3117-cv-013 81-JAM

Dear Judge l\/leyer:

Pursuant to Your I-Ionor’s direction at oral argument, Defendant Nestlé Waters North
America Inc. (“NWNA”) submits this letter responding to Plaintiffs’ November 20, 2018 letter
“(i) to correct a citation in footnote 4 of their Memorandum In Opposition To Defendant’s
Motion to Dismiss Plaintiffs’ Complaint [(“l\/lemorandum”)], Dkt. 170, at 14 n. 4, and (ii) to
advise the Court of a Rhode lsland Supreme Court decision on the safe harbor issue that post-
dates that court’s decisions cited on that issue in the parties’ briefs.” [Doc. 175 at 1].

(i) Silva v. Unique Beverage Co., LLC, No. 3:17-CV-00391-HZ,
2017 WL 2642286 (D. Or. Jun. 15, 201`7) (Sz`lva 11

lt is a total mystery Why Plaintiffs have sought “to correct a citation in footnote 4 of their
Memorandum,” as they did not miscite the June 15, 2017 Silva decision. Plaintiffs’
Memorandum provided the correct citation to the June 15, 2017 Silva I decision_2017 WL
2642286 [Doc. 170 at 14 n. 4]~_so Why did their counsel have to request permission from the
Court to submit a letter to correct a citation that Was correct? Plaintiffs’ November 20, 2018
letter not only misstates that Plaintiffs’ Memorandum miscited Sz'lva I, but then introduces for the
first time a subsequent Sz`lva decision and miscites that decision as “2017 WL 2642286.” See
Sz`lva v. Unique Beverage Co., LLC, No. 3:17-CV-0039l-HZ, 2017 WL 4896097 (D. Or. Oct. 30,
2017)(si1va 11). [DOC. 175 at 1 n. i].‘

 

1 Plaintiffs’ miscited reference to Silva 11 is also of no moment here. In its May 17, 2018 Opinion dismissing
Plaintiffs’ initial complaint, this Court noted “Plaintiffs do not mention these pictorial-based allegations in their
briefing or suggest that these allegations may withstand preemption even if their other allegations do not.” [Doc.

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lt appears that Plaintiffs’ request to correct a cite that was correct may have been a ruse to
obtain an unauthorized sur- -reply to re- argue that Silva 1 somehow exempts their state-law claims
from implied preemption under Section 337(a) of the federal Food, Drug and Cosrnetics Act
(“FDCA”). This Court should reject Plaintiffs’ attempt at a second bite at the apple that is not
permitted by this Court’s Local Rules. See L. Cz'v. R. 7(d).

In any event, Plaintiffs’ reliance upon Silva 1 remains wholly misplaced Unlike here,
Sz'lva 1 did not involve state consumer fraud law claims seeking to enforce a standard of identity
of a food regulated by the Food and Drug Administration (“FDA_”). In Sz'lva 1, plaintiff alleged
defendant’ s beverage product label violated the Oregon Unlawful Trade Practices Act
(“OUTPA”) because it deceived consumers into believing the product “tasted like coconut and
had at least some actual coconut or coconut-related health properties.” 2017 WL 2642286, at *1.
In suing to enforce violations of the OUTPA, plaintiff did not predicate the alleged violations on
noncompliance with a federal standard (such as the federal spring water “Identity Standard, ” 21
C. F. R § 165.110(a)(2)(vi), pled by Plaintiffs in this case, see Doc.160,1154) or even an
independent state-law standard (as was the case in 111 re Farm Salmon Cases2 )

As the court in Silva 1 stated, “the plaintiff must not be suing because the conduct violates
the FDCA (such a claim would be impliedly preempted under Buckmcm).” 2017 WL 2642286,
at *6 (emphasis added). As is evident from the amended complaint in this case, the Patane
Plaintiffs are suing because the alleged conduct violates the FDA spring water “Identity
Standard,” 21 C.F.R. § 165.110(a)(2)(vi). [Doc. 160, 1[1154, 841, 860, 872, 885, 896, 911, 935,
959, 983, 1007, 1028]. “That is what Buckman and § 337(a) do not allow.” [Doc. 141 at 20].
Plaintiffs’ claims are, therefore, impliedly preempted

(ii) Lon,q v. Dell, 984 A.2d 1074 (R.I. 2002

This Court should also reject Plaintiffs’ attempt to engage in a sur-reply on the safe
harbor issue by arguing a 2009 decision that could have been referred to in their Memorandum
[Doc. 175 at 1]. See L. Cz`v. R. 7(d). Long is not relevant, as the issues decided in Long had to do
with jurisdictional issues. Long does not support Plaintiffs’ argument that NWNA is not entitled
to invoke the safe harbor provision of the Rhode Island Deceptive Trade Practices Act
(“RIDTPA”), vas Rhode Island Regulators pre-approved the sale of Poland Spring® as “spring
water” compliant with the federal spring water Identity Standard, 21 C.F.R. § 165.110(a)(2)(vi).

In Long, plaintiffs brought RIDTPA claims alleging defendant charged and collected
state sales taxes contrary to Rhode Island sales tax regulations 984 A.2d at 1076. Appealing the

 

141 at 19 n.'lO]. The same is true for Plaintiffs’ amended complaint, as to which they did not make any argument
about “pristine scenes” in their brief or at oral argument As their amended complaint predicates Plaintiffs’ state
consumer fraud law claims on Poland Spring’ s alleged noncompliance with the federal spring water "Identity
Standard,” the only conclusion that can be drawn is that Plaintiffs’ state-law claims are impliedly preempted
Plaintiffs do not offer any explanation how Silva 11 alters that conclusion and, indeed, it does not.

2 In re Farm Salmon Cases, 42 Cal. 4th 1077 (2008), cert. denied, 555 U. S. 1097 (2009)

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denial of their motion to dismiss, defendant and the state tax administrator argued the trial court
lacked subject matter jurisdiction because plaintiffs failed to exhaust their administrative
remedies by not having first raised the issue with the Division of Taxation (“Division”) before
suing in state court. 1d. at- 1078-79. Rejecting that argument, the Rhode Island Supreme Court
concluded plaintiffs were allegedly aggrieved by the conduct of defendant rather than the tax
administrator and, therefore, the RIDTPA claim was properly brought in state court without
initially seeking administrative remedies before the Division; 161 at 1080-81. ~

Plaintiffs have erroneously attempted to seize on dictum in Long concerning the
RIDTPA’s safe harbor exemption that has no relevance to its application in this case. The Long
Court declined to conclude that the RlDTPA’s safe harbor exemption required plaintiffs to
exhaust their administrative remedies, observing the statute “does not exempt the fraudulent
collection of taxes from its provisions.” 1a’. at 1081. Long is totally distinguishable from this
case, as the safe harbor exemption was not applicable there because neither the Division nor its
regulations had authorized the tax collection practice at issue. In stark contrast here, NWNA
cannot sell its Poland Spring® bottled water product in Rhode island without first applying for
and obtaining a bottlers permit from the Rhode Island Department of Health (“RIDOH”). 3 To
obtain that permit. RIDOH regulations required NWNA to Submit bottle labels with its permit
application and to disclose the type of source water.4Bott1ed water may not be sold as “spring
water” in Rhode Island without complying with 21 C. F. R § 165.110(a)(2)(vi).5 The RIDOH
determined Poland Spring® complied with 21 C. F R. § 165.110(a)(2)(vi) and issued a bottlers
permit authorizing its sale as “spring water” in Rhode lsland.6 At oral argument, Plaintiffs
conceded that it is undisputed that NWNA obtained permits from the “appropriate regulatory
officials” in Rhode Island, Maine, and each of the other seven states authorizing`.the sale of
Poland Spring® bottled water in those jurisdictions 21 C. F. R. § 165.110(a)(2)(vi).
Accordingly, Long does not contradict the conclusion that RIDTPA’s safe harbor exempts
NWNA from state-law liability based upon Rhode Island State Regulators’ pre- -approval of the
sale of Poland Spring® as “spring water” in that jurisdiction

Respectfully Submitted, "

/s/Je]j‘reyM. Garrod ' '

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v _ _ Attorneys for Nestle' Waters North America`lnc.
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4 216- 50 R.I. CodeR. § 10 4. 9 2(A)(1) (eff. Dec. 20, 2017); 31- 7 R..I CodeR §3:91.1(a) (repealed Dec. 20, 2017).
lmportantly, those regulations also mandate that the source of Poland Spring® water “must be approved by the
agency having jurisdiction”: the Maine Drinking Water Program. 216-50 R.I. Coa'e R. § 10-4.9(A) `(eff. Dec. 20,
2017); 31 -7 R..I Coa’eR § 3 3. 0 (repealed Dec 20, 2017).

:-216 50 R..I Code`.R §§ 10- 4. 3(A)(3)(s) -4. 101 (eff. Dec 20 2017)

6[Doc. 53 -4 at 10-14]

